Case 3:21-cv-00440-D Document 1-2 Filed 03/01/21   Page 1 of 22 PageID 8




                EXHIBIT B
1   ClT-ESERVE                                                                                                                                                        12/28/2020   12:5(IJLEnE/I)
                                                                                      '
                                                                                                              r                                                            FELICIA PITRE
    R. Eric wpez              Case 3:21-cv-00440-D Document 1-2 Filed 03/01/21                                     Page 2 of 22 PageID 9
                                                                                                                                     Matthew BIWMCLERK
    Daniel Morales, LLM"                                                                       .     .                                                  JenniAULsmnTEXAS
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                                                                                                                                                     R. Matthew Graham®

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    * Board Cemed   .            .      .
                    1n Personal Injury Tnal Law
    bythe Texas Board ofLegal Specialization
                                                                                          M                                                           ®Licensed in;   TX, NM, CO & OK
                                                                               ATT 0 R     N E     YS AT LAw

                                                                                   December 27, 2020
                                                                                          DC-20-1 9047
                        Via E-Filing
                        Dallas County District Clerk
                        600 Commerce St., Suite 103
                        Dallas, TX 75202

                        RE:          IDIAN GONZALES V HOME DEPOT U.S.A., INC

                        Dear Sir or Madam:

                               Enclosed for ling please nd Plaintiff’s Original Petition with Attached Discovery
                        Requests. Please le the original petition.

                                     Please also issue a citation for service on Defendant:

                        HOME DEPOT U.S.A.. INC, who can be served With process at                                   211   E.   7th   Street. Suite          6%
                        Austin. Texas 78701. OR WHEREVER HE MAY BE FOUND.

                                     Please         eserve             me      with        a
                                                                                           copy     of the       requested     citations    to
                        SERVICE@NORTHTXLAW.COM                                   and we will have our local process server effectuate service.

                                Thank you in advance for your cooperation and attention to this matter and please do not
                        hesitate to contact me if you have any questions or comments.

                                                                                 Very truly yours,
                                                                                 R. E. LOPEZ & ASSOCIATES, RC.




                                                                                      2am!
                                                                                 Daniel Morales




                        550 E. 15‘“ St. - Suite 200 - Plano -   TX   - 75074      www.MyNorthTexasLamer.com        Phone: 469-209-7727   °   Fax: 1-888-601-4934
                           Case 3:21-cv-00440-D Document 1-2 Filed 03/01/21                                            Page 3 of 22 PageID 10



FORM N0. 353-3 - CITATION                                                                                                                                         ESERVE
THE STATE OF TEXAS                                                                                                                                             CITATION
T0:         HOME DEPOT U. S. A. ,.INC
            BY SERVING ITS REGISTERED AGENT CORPORATION SERVICE COMPANY
            DBA CSC-LAWYERS INCO                                                                                                                              DC-20-19047
            211 E 7TH ST STE 620
            AUSTIN TX 78701
                                                                                                                                                              IDIAN GONZALES
GREETINGS:                                                                                                                                                            VS.
You have been sued. You may employ an attorney. If you or your attorney do not le a written                                                               HOME DEPOT U.S.A., INC,
answer with the clerk who issued this citation by lO o'clock am. of the Monday next following the
expiration of twenty days after you were served this citation and petition, a default judgment may be
taken against you. In addition to ling a written answer with the clerk, you may be required to make initial                                                    ISSUED THIS
disclosures to the other parties of this suit. These disclosures generally must be made no later than 30 days                                             4th day of January, 2021
alter you le your answer with the clerk. Find out more at TexasLawHelp.org. Your answer should be
addressed to the clerk of the 191st District Court at 600 Commerce Street, Ste. 101, Dallas, Texas 75202.
                                                                                                                                                            FELICIA PITRE
Said Plaintiffbeing IDIAN        GONZALES                                                                                                                 Clerk District Courts,
                                                                                                                                                          Dallas County, Texas
Filed in said Court 28th day of December, 2020 against

HOME DEPOT U.S.A., INC.,                                                                                                                            By: COURTNEY RUTLEDGE, Deputy

For Suit, said suit being numbered DC-20—19047, the nature of which demand is as follows:                                                                 Attorney for Plaintiff
Suit on PROPERTY etc. as shown on said petition REQUEST FOR DISCLOSURE AND                                                                                 DANIEL MORALES
INTERROGATORIES AND PRODUCTION AND ADMISSSION, a copy ofwhich accompanies this                                                                       ATTN RE LOPEZ & ASSOCIATES PC
citation.   If this citation is not served, it shall be returned unexecuted.                                                                              550 E 15TH ST STE 200
                                                                                                                                                             PLANO TX 75074
WITNESS: FELICIA PITRE, Clerk of the District Courts of Dallas, County Texas.          mum"a”
                                                                                                                                                               469-209-7727
Given under my hand and the Seal of said Court at ofce this 4th day of January, 202                                                                      Service@NorthTxLaw.com
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ATTEST: FELICIA PITRE, Clerk ofthe District Courts of Dallas, County, Texas
                                                                                                                                                     DALLAS COUNTY
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                                  COURTNEY RUTLEDGE
                                                                                                                                                        NOT PA!
                                 Case 3:21-cv-00440-D Document 1-2 Filed 03/01/21                                                   Page 4 of 22 PageID 11




                                                                              OFFICER'S RETURN
Case No.   :   DC-20-19047

Court No. 1 9 1 st District Court

Style: IDIAN GONZALES
vs.

HOME DEPOT U.S.A., INC.,
Came to hand on the                            day of                        ,   20             ,   at                 o'clock             .M. Executed at

within the County of                                         at                  o'clock                 .M. on the                       day of

20                     ,   by delivering to the within named



each in person, a true copy     of this Citation together with the accompanying copy of this pleading, having             rst    endorsed on same date of delivery. The distance actually traveled by

me in serving such process was                    miles and my fees are as follows: To certify which witness my hand.

                                    For serving Citation          $

                                    For mileage                   $                                      of                           County,
                                  For Notary                      $                                      By                                                     Deputy

                                                                      (Must be veried      if served outside the State of Texas.)
Signed and sworn to by the said                                           before me this                      day of                             ,   20

to certify which witness my hand and seal         of ofce.


                                                                                                         Notary Public                                         County
                                                                                                                              FILED
                                                                                                                 12/28/2020 12:00 AM
                                                                                                                       FELICIA PITRE
     Case 3:21-cv-00440-D Document 1-2 Filed 03/01/21                       Page 5 of 22 PageID 12                    ISTRICT CLERK
                                                                                                                 DALLAS CO., TEXAS
                                                                                                      Christi Undewvood    DEPUTY

                                                        DC-20-1 9047
                                    CAUSE NO.

 IDIAN GONZALES,                                           §     IN THE DISTRICT COURT
 Plaintif                                                  §
                                                           §
                                                           §
                                                           §   J-1 91
 V.                                                        §     _       JUDICIAL DISTRICT
                                                           §
                                                           §
                                                           §
                                                           §
 HOME DEPOT U.S.A., INC.,                                  §
 Defendant.                                                §     DALLAS COUNTY, TEXAS



                 PLAINTIFF’S ORIGINAL PETITION AND WRITTEN DISCOVERY


TO THE HONORABLE JUDGE OF SAID COURT:

           COMES NOW, IDIAN GONZALES, Plaintiff, complaining of and against HOME

DEPOT U.S.A., INC., Defendant herein, and would respectfully show unto the Court as follows:

                                          I. DISCOVERY CONTROL PLAN

1.         Plaintiff intends to conduct discovery under Level 2 of Texas Rule of Civil Procedure

190.2. Written discovery requests to                  HOME DEPOT U.S.A., INC.   are set forth in section       IX

below. Responses to discovery requests are due fty               (50) days from the date Defendant, HOME

DEPOT U.S.A., INC. is served with this Petition.

                                              II. PARTIES AND SERVICE

2.         Plaintiff, IDIAN GONZALES, currently resides in Dallas, Texas.

3.         Defendant, HOME DEPOT U.S.A., INC., is a foreign Corporation who may be served

through its’ registered agent, Corporation Service Company d/b/a CSC-Lawyers Inco, located at

211   E.   7th   Street, Suite 620, Austin, Texas 78701. Issuance of Citation is requested at this




Plaintiff’s Original Petition and Written Discovery                                                 Page   1   of 8
     Case 3:21-cv-00440-D Document 1-2 Filed 03/01/21                           Page 6 of 22 PageID 13




                                                      III. JURISDICTION

4.        This Court has jurisdiction as Plaintiff’s damages exceed the minimum jurisdictional

limits of this Court. This action seeks only monetary relief of $100,000.00 or less, including

damages of any kind, penalties, costs, expenses, pre-judgment interest, and attorney fees. This

civil action does not exceed $74,999.99. Plaintiff stipulates to damages of less than $74,999.99.

                                                         IV. VENUE

5.        Venue is proper in Dallas County, Texas, pursuant to 15.002(a)(l) of the Texas Civil

Practice and Remedies Code, because the occurrence that is the subject of this suit occurred in

Dallas County, Texas.

                                                          V. FACTS

6.        On or about October 12, 2019, in Mesquite, Dallas County, Texas. Plaintiff, IDIAN

GONZALES would respectfully show                         the court that she was a business invitee at a store


owned/operated by the Defendant HOME                       DEPOT U.S.A., INC. located    at 18855 Lyndon      B

Johnson Fwy., Mesquite, Dallas County, Texas.                       While on the premises of the Defendant,

Plaintiff slipped and fell on rocks in the kitchen area causing severe and incapacitating injury.

Plaintiff states the hazard was not cleaned up in a timely manner and the Plaintiff was not

warned of the dangerous condition that existed. Plaintiff alleges that Defendant was guilty of

maintaining a dangerous premises and for failing to properly inspect the premises.                   Plaintiff

alleges further that Defendant failed to warn the Plaintiff of the dangerous condition on the

premises. Defendant had actual and/or constructive notice of the dangerous condition.

7.        As a result of the Defendant’s negligent conduct, Plaintiff suffered personal injuries and

property.




Plaintiff’s Original Petition and Written Discovery                                                   Page 2 of 8
     Case 3:21-cv-00440-D Document 1-2 Filed 03/01/21                             Page 7 of 22 PageID 14



8.        It was the Defendant, HOME DEPOT U.S.A., INC. negligence and negligence per se,

which was the proximate cause of Plaintiffs’ personal injuries and damages.

                 VI. NEGLIGENCE OF DEFENDANT HOME DEPOT U.S.A., INC.

9.        The conduct of Defendant, HOME DEPOT U.S.A., INC., was the proximate causes of

Plaintiff’s personal injuries in that Defendant, HOME DEPOT U.S.A., INC.’s acts or omissions,

constituted negligence in following acts of negligence, to wit:

          a.            failing to keep such a look out as a person of ordinary prudence would have

                        kept under similar circumstances;

          b.            failing to keep the premises safe;

          c.            failing to warn the Plaintiff that a dangerous condition existed on the premises;

          d.            failing to adequately repair the dangerous condition that existed on the

                        premises;

          e.            failing to inspect the premises prior t0 allowing customers and invitees on the

                        premises.

10.       Each of the above acts and omissions, singularly or in combination with each other, was

the proximate cause          of Plaintiff sustaining injuries and damages that are described below.

                                                      VII. DAMAGES

11.       As a result of the negligent conduct of Defendant, HOME DEPOT U.S.A., INC.,

Plaintiff, IDIAN GONZALES, suffered injuries to various parts of her body.

12.       As a result of the injuries                 she sustained, Plaintiff,   IDIAN GONZALES incurred

reasonable and necessary doctor's and medical expenses for their necessary medical care and

attention in excess of $25,000.00. There is also a probability Plaintiff will incur additional

reasonable expenses for necessary medical care and attention in an amount unknown at this time.




Plaintiff’s Original Petition and Written Discovery                                                   Page 3 of 8
     Case 3:21-cv-00440-D Document 1-2 Filed 03/01/21                         Page 8 of 22 PageID 15



13.       In addition Plaintiff suffered severe physical and mental pain, suffering and anguish and

in all reasonable probability, Will continue to suffer in this manner well into the future,         if not for
the balance     of her life.

14.       As a proximate result of the negligence of Defendant, HOME DEPOT U.S.A., INC.

Plaintiff, suffered injuries to her body in general. Plaintiffs’ diminished ability to administer to

her own needs and the needs               of her family has been seriously impaired. In all probability, her

ability to attend to customary household duties will continue to be so impaired well into the

future,   if not for the balance of her natural life.

                                           VIII. DISCOVERY REQUESTS
                                                      Instructions

        For any requested information about a document that no longer exists or cannot be
located, identify the document; state how and when it passed out of existence, or when it could
no longer be located, and the reasons for the disappearance. Also, please identify each person
having knowledge about the disposition or loss, and identify each document evidencing the
existence or nonexistence of each document that cannot be located.

                                                       Denitions

          The following denitions              shall have the following meanings, unless the context requires
otherwise:

1.    “Defendant,” “you,” or “your” means HOME DEPOT U.S.A., INC., individually.

2.    “Plaintiff” means IDIAN GONZALES.

3.    “Party” or “parties,” as well as party’s full or abbreviated name or a pronoun referring to a
      party, means the party, and where applicable, his or its agents, ofcers, directors, employees,
      partners, corporate agents, subsidiaries, afliates, or any other person acting in concert with
      him or it, or under his or its control, whether directly or indirectly, including any attorney.

4.    “Possession, custody, or control” of an item means that the person either has physical
      possession of the item or has a right to possession that is equal or superior to the person who
      has physical possession of the item.

5.    “File”  means any collection or group of documents maintained, held, stored, or used
      together, including, without limitation, all collections of documents maintained, held, or
      stored in folders, notebooks, or other devices for separating or organizing documents.



Plaintiffs Original Petition and Written Discovery                                                   Page 4 of 8
      Case 3:21-cv-00440-D Document 1-2 Filed 03/01/21                         Page 9 of 22 PageID 16




6.    “Person” means any natural person, corporation, rm, association, partnership, joint venture,
      proprietorship, governmental body, or any other organization, business, or legal entity and all
      predecessors or successors in interest.

7.    “Communication” means any oral or written communication of which the Defendant has
      knowledge, information, or belief.

8.    “Date” means the exact date, month, and year,             if ascertainable,   or,   if not,   the best available
      approximation.

9.    “Mobile device” means cellular telephone, satellite telephone, pager, personal digital
      assistant, palm top computer, hand-held computer, electronic rolodex, e-book, or walkie-
      talkie.

10.   “Identify” or “describe,” when referring to a person, means you must state the following:

                a. The full name.
                b. The present or last known residential address and residential telephone number.
                c. The present or last known ofce address and ofce telephone numbers.
                d. The present occupation, job title, employer, and employer’s address at the time of
                   the event or period referred to in each particular request.
                e. In the case of any entity, identify the ofcer,     employee, or agent most closely
                   connect with the subject matter of the request and identify the ofcer who is
                   responsible for supervising that ofcer or employee.

ll.   “Identify” or “describe,” when referring to a document, means you must state the following:

                a. The nature (e.g. letter, handwritten note) of the document.
                b. The title or heading that appears on the document.
                c. The date of the document and the date of each addendum, supplement, or other
                   addition or change.
                d. The identity of the author and of the signer of the document, and of the person on
                   whose behalf or at whose request or direction the document was prepared or
                   delivered.
                e. The recent location of the document, and the name, address, position or title, and
                   telephone number of the person or persons having custody of the document.

12. The word “and” means “and/or.” The word                 “or” means “or/and.”

l3. The word “vehicle” means                 a vehicle that is involved in motor vehicle accident that is the
    subject of this suit.

14. Accident,” “incident,” or “collision” means the motor vehicle collision that occurred on or
    about October 12, 2019, between plaintiff and defendant, forming the basis of this lawsuit




Plaintiffs Original Petition and Written Discovery                                                            Page 5 of 8
     Case 3:21-cv-00440-D Document 1-2 Filed 03/01/21                    Page 10 of 22 PageID 17



              Rule 194 REQUESTS FOR DISCLOSURE TO HOME DEPOT U.S.A.. INC.

 Please take notice that pursuant to Rule 194, you are requested to disclose the following
 information or material:

         The correct names of the parties to the lawsuit;
         b. The name, address and telephone number of any potential parties;
         The legal theories and, in general, the factual basis of the responding party’s claims or
         defenses;
         The amount and method of calculating economic damages;
         The name, address, and phone numbers of persons having knowledge of relevant facts, and a
         brief statement of each identied person’s connection with the case.
         For any testifying expert:
             (1) The expert’s name, address and phone number;
             (2) The subject matter on Which the expert will testify;
             (3) The general substance of the expert’s mental impressions and opinions and      brief
                 summary of the basis for them, or  if the expert is not retained by, employed by, or
                 otherwise subject to the control of the responding party, documents reecting such
                 information;
             (4) If the expert is retained by, employed by, or otherwise subject to the control of the
                 responding party:
                 a. All documents, tangible things, reports, models, or data compilations that have
                     been provided to reviewed by, or prepared by or for the expert in anticipation of
                     the expert’s testimony, and
                 b. The expert’s current resume and bibliography
         Any discoverable indemnity and insuring agreements;
newts:




         Any discoverable settlement agreements;
         Any discoverable witness statements;
         In a suit alleging physical or mental injury and damages from the occurrence that is the
         subject of the case, all medical records and bills that are reasonably related to the injuries or
         damages asserted or, in lieu thereof, an authorization permitting the disclosure of such
         medical records and bills;
         In a suit alleging physical or mental injury and damages from the occurrence that is the
         subject of the case, all medical records and bills obtained by the responding party by virtue of
         an authorization by the requesting party.
         The name, address, and telephone number of any person who may be designated as a
         responsible third party.


                                          REQUEST FOR RULE     196.1   PRODUCTION

 REQUEST NO.       1: Produce a copy of any and all videotapes and/or photographs taken on
 October 12, 2019 and/or depicting the condition of the store within 24 hours of the alleged
 incident related to this lawsuit. This request includes any surveillance lms and/or videos taken
 on October l2, 2019.




 Plaintiffs Original Petition and Written Discovery                                               Page 6 of 8
   Case 3:21-cv-00440-D Document 1-2 Filed 03/01/21                         Page 11 of 22 PageID 18



REQUEST NO. 2: Produce any and all incident reports created by employees, Witnesses and/or
parties relating to the fall involving the Plaintiff on your premises that occurred on October 12,
2019.




                                                      PRAYER

          WHEREFORE, Plaintiff will respectfully request that Defendant be cited to             appear and

answer, and that on nal                  trial, Plaintiff be awarded judgment against Defendant for the

following:

     a.   Actual damages, of medical bills in excess of $25,000.00 for IDIAN GONZALES, which

          are necessary and reasonable for these types         of services in Dallas County, Texas; and for

          future medical attention in amounts unknown at this time;

          Monetary damages of $20,000.00 for past physical pain and suffering and mental anguish

          found to be reasonable and just by the trier of fact for each Plaintiff;

          Monetary damages of $10,000.00 for future physical pain and suffering and mental

          anguish as found to be reasonable and just by the trier of fact for Plaintiff;

          Physical and wage impairment as determined by the trier of fact;

          Pre and post judgment interest at the maximum legal rate;

          Cost of Court;

          and for such other and further relief, at law or in equity, to which Plaintiff will be justly

          entitled.

                                                       Respectfully submitted,

                                                       R. E. LOPEZ & MORALEs

                                                       550 East 15th Street, Suite 200
                                                       Plano, TX 75074
                                                       Ph. 469-209-7727
                                                       Fax 888-601-4934
                                                       Service@NorthTxLaw.com


Plaintiff’s Original Petition and Written Discovery                                                Page 7 of 8
   Case 3:21-cv-00440-D Document 1-2 Filed 03/01/21                     Page 12 of 22 PageID 19




                                                     By:
                                                     Dan Morales
                                                     State Bar No.: 24049056
                                                     R. Eric Lopez
                                                     State Bar No.: 24049894
                                                     Jennifer Clayton
                                                     State Bar No.: 24048395



                                                     ATTORNEYS FOR PLAINTIFF




Plaintiffs Original Petition and Written Discovery                                        Page 8 of 8
                                                                                                                                                                       FILE
                                                                                                                                                           2/18/2021 1:25 P
                                                                                                                                                               FELICIA PITR
                       Case 3:21-cv-00440-D Document 1-2 Filed 03/01/21                                  Page 13 of 22 PageID 20                           DISTRICT CLER
                                                                                                                                                         DALLAS CO., TEXAS
                                                                                                                                                      Deondria Grant DEPUTY




FORM NO.
THE STATE OF TEXAS
                     353-3 -     CITATION                                                                                            w
                                                                                                                                 CITATION
To:     HOME DEPOT U.S.A., lNC.,
        BY SERVING ITS REGISTERED AGENT CORPORATION SERVICE COMPANY
        DBA CSC-LAWYERS INCO                                                                                                    DC-20—19047
        211 E 7TH ST STE 620
        AUSTIN TX 78701
                                                                                                                                IDIAN GONZALES
                                                                                                                                         vs.
GREETINGS:
                                                                                                                            HOME DEPOT U.S.A., INC.,
You have been sued. You may employ an attorney. If you or your attorney do not le           a written

answer with the clerk who issued this citation by  10  o‘clock a.m. of the Monday    next  following  the
                                                  this citation and            a default judgment   may   be
expiration of twenty days after you were served                      petition,
                                                                                                                                   ISSUED THIS
taken against you. Your answer should be addressed     to the clerk of the 191st  District  Court  at 600
                                                                                                                            4th day of January, 2021
Commerce Street, Ste. 101, Dallas, Texas 75202.

Said Plaintiff being IDIAN GONZALES                                                                                            FELICIA PITRE
                                                                                                                             Clerk District Courts,
Filed in said Court 28th day of December, 2020 against                                                                       Dallas County, Texas
HOME DEPOT U.S.A., INC.,

For Suit, said suit being numbered DC-20-19047, the nature of which demand is as follows:                              By: COURTNEY RUTLEDGE, Deputy
Suit on PROPERTY etc. as shown on said petition REQUEST FOR DISCLOSURE AND
                                                                                                                             Attorney for Plaintiff
INTERROGATORIES AND PRODUCTION AND ADMISSSION, a copy of which accompanies this                                               DANIEL MORALES
citation.   If this citation is not served, it shall be returned unexecuted.                                            ATTN RE LOPEZ & ASSOCIATES PC
                                                                                                                             550 E 15TH ST STE 200
WITNESS: FELICIA PITRE, Clerk of the District Courts of Dallas, County Texas.           “mum"                                  PLANO TX 75074
Given under my hand and the Seal of said Court at ofce this 4th day of January, 202élW‘XIBAtrj'Qo
                                                                                     Kg.       Ira";                                469-209-7727
                                                                                            551""   x.    I Sega—s
ATTEST: FELICIA PITRE, Clerk of the District Courts of Dallas, County, Texas                E: f           _   '43:;         ServicengorthTxLawxom

                            By                WW                               ,   Deputy    3,3..._;...s,;§
                                                                                               ””rmnmu“‘                   ALLAS COUNTY
                                   COURTNEY RUTLEDGE
                                                                                                                           SERVICE FEES
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                            Case 3:21-cv-00440-D Document 1-2 Filed 03/01/21                                                           Page 14 of 22 PageID 21




                                                                               OFFICER'S RETURN
Case No.   :   DC-20- 1 9047
Court No.19lst District Court

Style: IDIAN     GONZALES
vs.

HOME DEPOT U.s.A., INC,
                                                                                                                                                                     7'“    E" Tm          Mdbw
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                                                                                       o'clock                .M. on the
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                                                                                                                                                  day of                                                ,


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each ia-person; a true copy of this Citation together with the accompanying copy of this pleading, having                       rst   endorsed on same date of delivery. The distance actually traveled by

me in serving such process was                  miles and my fees are as follows: To certify which witness my hand.

                                  For sewing Citation             $        l       2

                                  For mileage                    $        w                                   of                           County,

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Signed and sworn to by the said
                                  For Notary                      $

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               Case 3:21-cv-00440-D Document 1-2 Filed 03/01/21 Page 15 of 22 PageID 22
            ALERT: USPS IS EXPERIENCING UNPRECEDENTED VOLUME INCREASES AND LIMITED EMPL...


    USPS Tracking®                                                                                      FAQs >




                                                    Track Another Package                  +




                                                                                                      Remove   X
   Tracking Number: 701 81 130000060674598

   Your item was picked up at a postal facility at 8:07 am on January 8, 2021 in AUSTIN, TX 78760.




    (9/ Delivered




                                                                                                               XOBqpaej
   January 8, 2021 at 8:07 am
   Delivered, Individual Picked Up at Postal Facility
   AUSTIN, TX 78760

   Get Updates          v


       Text & Email Updates


       Tracking History


       Product Information



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                                   Can’t find what you’re looking for?
                            Go to our FAQs section to find answers to your tracking questions.

https://tools.usps.com/go/TrackConfirmAction?qtc_tLabels1 =701 81 1 30000060674598                                   1/2
       Case 3:21-cv-00440-D Document 1-2 Filed 03/01/21         Page 16 of 22 PageID 23
                         Automated Certificate of eService
This automated certificate of service was created by the efiling system.
The filer served this document via email generated by the efiling system
on the date and to the persons listed below. The rules governing
certificates of service have not changed. Filers must still provide a
certificate of service that complies with all applicable rules.




Envelope ID: 50698419
Status as of 2/18/2021 2:50 PM CST

Case Contacts

Name              BarNumber   Email                    TimestampSubmitted     Status
DANIEL MORALES                Service@Northtxlaw.com   2/18/2021 1:25:26 PM   SENT
                                                                                                                FILED
                                                                                                    2/26/2021 4:15 PM
                                                                                                        FELICIA PITRE
     Case 3:21-cv-00440-D Document 1-2 Filed 03/01/21               Page 17 of 22 PageID       24 DISTRICT CLERK
                                                                                                  DALLAS CO., TEXAS
                                                                                                 Martin Reyes DEPUTY


                                    CAUSE NO. DC-20-19047                                       Martin Reyes

IDIAN GONZALES,                                   §                  IN THE DISTRICT COURT
          Plaintiff,                              §
                                                  §
VS.                                               §                  191ST JUDICAL DISTRICT
                                                  §
HOME DEPOT USA, INC.                              §
         Defendant.                               §                DALLAS COUNTY, TEXAS

             DEFENDANT HOME DEPOT U.S.A., INC.’S ORIGINAL ANSWER
                     TO PLAINTIFF’S ORIGINAL PETITION

TO THE HONORABLE JUDGE:

         COMES NOW Defendant Home Depot U.S.A., Inc. (“Defendant” herein) in the above-

entitled and numbered cause, and for its Original Answer to Plaintiff’s Original Petition would

respectfully show unto the Court as follows:

                                               I.
                                         GENERAL DENIAL

1.       Pursuant to Rule 92 of the Texas Rules of Civil Procedure, Defendant hereby enters a

general denial, and demands that Plaintiff be required to prove his allegations by a preponderance of

the evidence.

                                           II.
                                  AFFIRMATIVE DEFENSES

2.       By way of affirmative defense, Defendant affirmatively alleges that the incident made the

basis of this suit and Plaintiff’s damages, if any, were proximately caused by Plaintiff’s own fault

and/or negligence.

3.       Defendant asserts the defense of unavoidable accident. The damages plaintiff claims were

due to an accident that was not caused by the negligence of any party, and one that could not be

prevented by the exercise of due care.

4.       Defendant asserts the doctrine of comparative causation, which may bar any recovery by
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Plaintiff, or may in the alternative reduce the amount of recovery by Plaintiff based on the

Plaintiff’s own percentage of fault.

5.       Defendant asserts the affirmative defense of contributory negligence. The negligence of

Plaintiff caused or contributed to Plaintiff’s injures so that the claims are barred or, in the

alternative, must be reduced in accordance with the relative degree of Plaintiff’s own negligence.

Defendant requests the trier of fact to determine Plaintiff’s liability and percentage of

responsibility pursuant to Texas Civil Practice & Remedies Code section 33.003.

6.       Defendant is entitled to all caps and limitations on damages pursuant to the Texas Civil

Practice & Remedies Code.

7.       Defendant is not responsible for any expenses or damages allegedly incurred by Plaintiff

due to Plaintiff’s own acts, conduct, negligence and/or failure to exercise reasonable care in

mitigating Plaintiff’s damages.

8.       Plaintiff’s own negligent acts were more than 50% of the proximate cause of Plaintiff’s

injuries. Under Chapter 33 of the Texas Civil Practice and Remedies Code, Plaintiff is not

entitled to the relief requested in the Petition. To the extent that Plaintiff’s proportionate

responsibility is less than 50%, Plaintiff’s damages must be reduced by the percentage to which

Plaintiff is responsible for their injuries.

9.       Defendant alleges that Plaintiff's injuries and/or damages were caused by an intervening

event for which Defendant has no liability.

10.      To the extent that Plaintiff’s medical expenses exceed the amount actually paid on

Plaintiff’s behalf to Plaintiff’s medical providers, Defendant asserts the statutory defense set

forth in Section 41.0105 of the Texas Civil Practice and Remedies Code. Thus, recovery of

Plaintiff’s medical or health care expenses are limited to the amount actually paid or incurred by
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or on behalf of Plaintiff.

11.     To the extent that any health care provider has written off its charges for medical care for

Plaintiff and/or paid charges for medical care in connection with the injuries underlying this suit,

and in the unlikely event that Plaintiff obtains a final judgment against Defendant, Defendant is

entitled to a credit and/or offset for the total amount of such write-offs and/or expenditures

incurred and paid by others and accruing to Plaintiff pursuant to Texas Civil Practice &

Remedies Code Section 41.0105.

12.     Defendant is entitled to a credit or offset equal to the amount of any and all sums that the

Plaintiff has received, or may hereinafter receive, by way of settlement with any person or party.

Alternatively, Defendant contends that it is entitled to a proportionate reduction of any damages

found against it based upon the percentage of negligence attributable to the settling tortfeasor,

cross claimant, designated third party, or other party to this case.

13.     Any claims for pre-judgment interest are limited by the dates and amounts set forth in

Section 304.104 of the Texas Finance Code and Section 41.007 of the Texas Civil Practice &

Remedies Code.

14.     Defendant alleges that the injuries and damages alleged by Plaintiff may be due to

Plaintiff’s own negligence and recklessness in that Plaintiff’s failure to exercise ordinary care

proximately caused, in whole or in part, the alleged injuries and damages complained of by

Plaintiff. Plaintiff’s acts and omissions, whether taken together or separately, may be the sole

proximate cause, or a proximate cause of the injuries and damages Plaintiff has alleged in this

lawsuit. Any recovery by Plaintiff is therefore barred, or alternatively should be reduced in

accordance with the applicable law.

15.     The injuries pled by Plaintiff may have been caused, in whole or in part, by superseding
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and/or intervening causes, including preexisting conditions and/or injuries and subsequently

occurring injuries and/or conditions that were not Defendant’s own creation.

16.     Defendant states that the alleged occurrence, incident, event or accident underlying this

suit may have been caused by the negligence of a third party or parties over whom Defendant

had no control and said negligence was the proximate cause, or in the alternative, the sole

proximate cause of the occurrence, incident, event or accident underlying this suit and of the

alleged damages to Plaintiff.

17.     In the highly unlikely and remote event that the Plaintiff should recover any amount of

money damages for lost income or loss of earning capacity, Defendant affirmatively pleads that

such recovery is only recoverable in an amount reduced to present value and after all income

taxes have been deducted.

                                             III.
                                      PRAYER FOR RELIEF

        WHEREFORE, PREMISES CONSIDERED, Defendant Home Depot U.S.A., Inc. prays

that Plaintiff take nothing by this action and Defendant be dismissed with its costs, and for such

other relief, both general and specific, at law or in equity, to which Defendant may be justly entitled.

                                                        Respectfully submitted,
                                                        Hawkins Parnell & Young, LLP

                                                By:     /s/ Troy D. Helling
                                                        TROY D. HELLING
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                                                          -AND-
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                                                   (512) 687-6990 (Fax)

                                                   ATTORNEYS FOR DEFENDANT
                                                   HOME DEPOT U.S.A., INC.


                                 CERTIFICATE OF SERVICE

       I hereby certify by my signature above that a true and correct copy of the foregoing
document has been sent via electronic service to counsel of record in accordance with the Texas
Rules of Civil Procedure, on this the 26th day of February 2021.

       Dan Morales
       R. Eric Lopez
       Jennifer Clayton
       service@northtxlaw.com
       R. E. LOPEZ & MORALES
       550 East 15th Street, Suite 200
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       Case 3:21-cv-00440-D Document 1-2 Filed 03/01/21             Page 22 of 22 PageID 29
                         Automated Certificate of eService
This automated certificate of service was created by the efiling system.
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certificates of service have not changed. Filers must still provide a
certificate of service that complies with all applicable rules.

Anna Ortiz on behalf of Troy Helling
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Status as of 3/1/2021 8:47 AM CST

Case Contacts

Name                 BarNumber Email                       TimestampSubmitted     Status

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Amy C.Welborn                     awelborn@hpylaw.com      2/26/2021 4:15:42 PM   SENT



Associated Case Party: HOME DEPOT U.S.A., INC.,

Name              BarNumber   Email               TimestampSubmitted     Status

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